       Case 1:22-cr-00116-CJN Document 41-1 Filed 06/28/23 Page 1 of 1




                        UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,            )
                                     )
            v.                       )      Case No. 22-cr-116 (CJN)
                                     )
DAVID JOSEPH GIETZEN                 )



                                     ORDER


     THIS MATTER is before the Court on the Defendant’s motion to dismiss
Counts One, Five, Six and Seven of the Indictment.
For good cause shown, Defendant’s motion to dismiss is granted
.


SO ORDERED, This the __ day of ______________________, 2023.




                                            _________________________________
                                            Carl J. Nichols
                                            United States District Judge
